Case 5:20-mj-00134-JLV Document 1-1 Filed 07/02/20 Page 1 of 7 PageID #: 2




                                               5:20-mj-134
Case 5:20-mj-00134-JLV Document 1-1 Filed 07/02/20 Page 2 of 7 PageID #: 3
Case 5:20-mj-00134-JLV Document 1-1 Filed 07/02/20 Page 3 of 7 PageID #: 4
Case 5:20-mj-00134-JLV Document 1-1 Filed 07/02/20 Page 4 of 7 PageID #: 5
Case 5:20-mj-00134-JLV Document 1-1 Filed 07/02/20 Page 5 of 7 PageID #: 6
Case 5:20-mj-00134-JLV Document 1-1 Filed 07/02/20 Page 6 of 7 PageID #: 7
Case 5:20-mj-00134-JLV Document 1-1 Filed 07/02/20 Page 7 of 7 PageID #: 8
